                                                                             0011-35-EPIE35-00446771-455838

                              UNITED STATES BANKRUPTCY COURT
                                                    NORTHERN DISTRICT OF OHIO
                                                        EASTERN DIVISION

In re: KIMBERLY V JACKSON                                                                                 Case No.: 15-14204-jps
       SAMUEL T JACKSON
              Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
Lauren A. Helbling, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to 11
U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 07/24/2015.
2) The plan was confirmed on 12/14/2015.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on NA.
4) The trustee filed action to remedy default by the debtor in performance under the plan on NA.
5) The case was dismissed on 01/18/2018.
6) Number of months from filing or conversion to last payment: 29.
7) Number of months case was pending: 31.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: 285,297.36.
10) Amount of unsecured claims discharged without full payment: .00.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
       Total paid by or on behalf of the debtor:            $62,989.75
       Less amount refunded to debtor:                            $.00
 NET RECEIPTS:                                                                  $62,989.75

 Expenses of Administration:
       Attorney's Fees Paid Through The Plan:                                  $2,642.50
       Court Costs:                                                                  $.00
       Trustee Expenses and Compensation:                                      $3,290.90
       Other:                                                                        $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                  $5,933.40

 Attorney fees paid and disclosed by debtor:                 $800.00




 Scheduled Creditors:
Creditor                                                      Claim             Claim              Claim         Principal         Interest
Name                                        Class             Scheduled         Asserted           Allowed       Paid              Paid

AFNI                                        Unsecured                  NA        1,010.64                .00            .00             .00
ARGOSY UNIVERSITY                           Unsecured            3,533.75              NA                NA             .00             .00
ATTORNEY GENERAL OF THE U S                 Unsecured                  NA              NA                NA             .00             .00
CARRINGTON MORTGAGE SERVICES LLC
                               Secured                          60,000.00    9,999,999.99         26,627.93      26,627.93              .00
CARRINGTON MORTGAGE SERVICES LLC
                               Secured                          25,000.00       21,104.50         21,104.50      14,285.60              .00
CARRINGTON MORTGAGE SERVICES LLC
                               Unsecured                               NA              .00               .00            .00             .00
CHAGRIN HIGHLANDS DENTAL GROUP Unsecured                               NA              NA                NA             .00             .00
CHAGRIN HIGHLANDS DENTAL GROUP Unsecured                           932.17          932.17            932.17             .00             .00
CITY OF EAST CLEVELAND                      Unsecured              245.00          245.00            245.00             .00             .00
CITY OF EUCLID                              Priority             6,331.16        4,875.00          4,875.00       1,161.05              .00
CITY OF EUCLID                              Unsecured                  NA        1,456.16          1,456.16             .00             .00
CLEVELAND CLINIC FOUNDATION                 Unsecured            2,976.00              NA                NA             .00             .00
DEAN R PROBER                               Unsecured                  NA              .00               .00            .00             .00
DEPARTMENT OF THE TREASURY IRS Priority                          2,410.00        2,429.89          3,034.54         462.47              .00
DEPARTMENT OF THE TREASURY IRS Unsecured                               NA          746.52            746.52             .00             .00

Page 1 of 3     15-14204-jps          Doc 107          FILED 03/14/18        ENTERED 03/14/18 12:19:32     Page
                                                                                                    UST Form        1 of(9/1/2009)
                                                                                                             101-13-FR-S   3
                                                                0011-35-EPIE35-00446771-455838

                        UNITED STATES BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF OHIO
                                              EASTERN DIVISION

In re: KIMBERLY V JACKSON                                                                    Case No.: 15-14204-jps
       SAMUEL T JACKSON
              Debtor(s)

                  CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                           Claim           Claim              Claim         Principal         Interest
Name                              Class            Scheduled       Asserted           Allowed       Paid              Paid

DEPARTMENT OF THE TREASURY IRS    Unsecured               NA              .00               .00           .00              .00
ELGIN FURNITURE & APPLIANCE INC   Unsecured            700.00         777.21            777.21            .00              .00
ELGIN FURNITURE & APPLIANCE INC   Unsecured               NA          777.21                .00           .00              .00
FIRST FEDERAL CREDIT CONTROL      Unsecured               NA              NA                NA            .00              .00
HILLARY A HALL ESQ                Unsecured               NA              .00               .00           .00              .00
ILLUMINATING CO                   Unsecured               NA        3,518.95          3,518.95            .00              .00
KERRI N BRUCKNER                  Unsecured               NA              .00               .00           .00              .00
MANLEY DEAS KOCHALSKI LLC         Unsecured               NA              NA                NA            .00              .00
MNDG DBA PRECISION DOOR           Unsecured               NA              NA                NA            .00              .00
NATIONAL CREDIT ADJUSTERS         Unsecured               NA              NA                NA            .00              .00
NAVIENT SOLUTIONS INC             Unsecured               NA              .00               .00           .00              .00
NAVIENT SOLUTIONS INC             Unsecured               NA       10,162.68         10,162.68            .00              .00
PORTFOLIO RECOVERY ASSOC          Unsecured               NA              NA                NA            .00              .00
PORTFOLIO RECOVERY ASSOCIATES     Unsecured               NA              .00               .00           .00              .00
PORTFOLIO RECOVERY ASSOCIATES LLC
                                Unsecured                 NA          530.49            530.49            .00              .00
PRESTIGE FINANCIAL SERVICES       Secured           20,834.00      21,045.20         21,045.20       9,045.91         2,141.77
REGIONAL INCOME TAX AGENCY        Priority           4,648.42       4,648.42          4,648.42         852.50              .00
REGIONAL INCOME TAX AGENCY        Unsecured               NA              NA                NA            .00              .00
RISE CREDIT                       Unsecured            798.00             NA                NA            .00              .00
RISE CREDIT                       Unsecured            882.92             NA                NA            .00              .00
SILVER CLOUD FINANCIAL INC        Unsecured            650.00         650.00            650.00            .00              .00
STACEY LYNNE JONES                Unsecured               NA              .00               .00           .00              .00
TIDEWATER FINANCE CO              Unsecured          7,618.00       7,609.02          7,609.02            .00              .00
UNIVERSITY OF PHOENIX             Unsecured               NA              NA                NA            .00              .00
US DEPARTMENT OF EDUCATION        Unsecured               NA       79,401.13         79,401.13            .00              .00
US DEPARTMENT OF EDUCATION        Unsecured               NA              .00               .00           .00              .00
US DEPARTMENT OF EDUCATION        Unsecured               NA              .00               .00           .00              .00
US DEPARTMENT OF HUD              Secured            5,046.63       5,046.63          5,046.63       2,479.12              .00
US DEPT OF EDUCATION              Unsecured               NA        2,245.56          2,245.56            .00              .00




Page 2 of 3   15-14204-jps    Doc 107        FILED 03/14/18     ENTERED 03/14/18 12:19:32     Page
                                                                                       UST Form        2 of(9/1/2009)
                                                                                                101-13-FR-S   3
                                                                            0011-35-EPIE35-00446771-455838

                              UNITED STATES BANKRUPTCY COURT
                                                  NORTHERN DISTRICT OF OHIO
                                                      EASTERN DIVISION

In re: KIMBERLY V JACKSON                                                                                Case No.: 15-14204-jps
       SAMUEL T JACKSON
              Debtor(s)

                    CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                                     Claim              Claim             Claim         Principal         Interest
Name                                      Class              Scheduled          Asserted          Allowed       Paid              Paid

US DEPT OF HOUSING AND                    Unsecured                  NA               .00               .00           .00               .00

 Summary of Disbursements to Creditors:                                                           Claim         Principal         Interest
                                                                                                  Allowed       Paid              Paid
 Secured Payments:
     Mortgage Ongoing:                                                                           26,627.93      26,627.93              .00
     Mortgage Arrearage:                                                                         21,104.50      14,285.60              .00
     Debt Secured by Vehicle:                                                                    21,045.20       9,045.91         2,141.77
     All Other Secured:                                                                           5,046.63       2,479.12              .00
 TOTAL SECURED:                                                                                  73,824.26      52,438.56         2,141.77

 Priority Unsecured Payments:
     Domestic Support Arrearage:                                                                       .00            .00               .00
     Domestic Support Ongoing:                                                                         .00            .00               .00
     All Other Priority:                                                                         12,557.96       2,476.02               .00
 TOTAL PRIORITY:                                                                                 12,557.96       2,476.02               .00

 GENERAL UNSECURED PAYMENTS:                                                                   108,274.89             .00               .00

 Disbursements:
       Expenses of Administration:                                                              $5,933.40
       Disbursements to Creditors:                                                             $57,056.35
 TOTAL DISBURSEMENTS:                                                                                                         $62,989.75

   12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate has been fully administered, the
   foregoing summary is true and complete, and all administrative matters for which the trustee is responsible have been completed.
   The trustee requests a final decree be entered that discharges the trustee and grants such other relief as may be just and proper.


                  Date:   02/28/2018                                      By:   /s/Lauren A. Helbling
                                                                                Standing Chapter 13 Trustee
           STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
           exemption 5 C.F.R. Section 1320.4(a)(2) applies.




Page 3 of 3      15-14204-jps          Doc 107     FILED 03/14/18          ENTERED 03/14/18 12:19:32     Page
                                                                                                  UST Form        3 of(9/1/2009)
                                                                                                           101-13-FR-S   3
